                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 SUSMAN GODFREY LLP,

                     Plaintiff,                      No. 1:25-cv-1107

 v.                                                  EMERGENCY HEARING
                                                     RESPECTFULLY REQUESTED
 EXECUTIVE OFFICE OF THE
 PRESIDENT, et al.,

                    Defendants.


                     PLAINTIFF SUSMAN GODFREY LLP’S MOTION
                      FOR A TEMPORARY RESTRAINING ORDER


       Pursuant to Rule 65(b) of the Federal Rules of Civil Procedure and Local Civil Rule 65.1,

Plaintiff Susman Godfrey LLP, by undersigned counsel, respectfully moves for the immediate

issuance of a temporary restraining order (TRO) enjoining Defendants from enforcing or

implementing the provisions of Sections 1, 3, and 5 of the President’s April 9, 2025 Executive

Order entitled “Addressing Risks from Susman Godfrey.” Plaintiff respectfully requests a

hearing on this motion tomorrow. Undersigned counsel is available to participate in such a

hearing at any time. Emergency relief is necessary due to the exigency of the circumstances

created by the Executive Order and the irreparable injuries that the requested temporary

restraining order is intended to prevent. Plaintiff respectfully requests that the Court dispense

with the security referenced in Federal Rule of Civil Procedure 65(c), for the reasons stated in its

memorandum in support of this motion.

       The grounds for this motion are set forth in the attached memorandum of law and its

supporting declarations and exhibits. A proposed order and a certification of compliance with

Local Civil Rule 65.1 are also attached.

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Dated: April 14, 2025   Respectfully submitted,


                        /s/ Donald B. Verrilli, Jr.
                        Donald B. Verrilli, Jr. (D.C. Bar. No. 420434)
                        Elaine J. Goldenberg (D.C. Bar No. 478383)
                        Ginger D. Anders (D.C. Bar. No. 494471)
                        MUNGER, TOLLES & OLSON LLP
                        601 Massachusetts Avenue, NW, Suite 500E
                        Washington, D.C. 20001
                        (202) 220-1100
                        Donald.Verrilli@mto.com
                        Elaine.Goldenberg@mto.com
                        Ginger.Anders@mto.com

                        Brad D. Brian**
                        Michael R. Doyen**
                        Hailyn J. Chen**
                        MUNGER, TOLLES & OLSON LLP
                        350 S. Grand Avenue, Fiftieth Floor
                        Los Angeles, California 90071
                        (213) 683-9100
                        Brad.Brian@mto.com
                        Michael.Doyen@mto.com
                        Hailyn.Chen@mto.com

                        **Pro hac vice application forthcoming

                        Attorneys for Susman Godfrey LLP

                        (Additional counsel listed on following page)




                           2
Bethany W. Kristovich**
Adam B. Weiss**
Jennifer L. Bryant**
William M. Orr**
Miranda E. Rehaut**
MUNGER, TOLLES & OLSON LLP
350 S. Grand Avenue, Fiftieth Floor
Los Angeles, California 90071
(213) 683-9100
Adam.Weiss@mto.com
Jennifer.Bryant@mto.com
William.Orr@mto.com
Miranda.Rehaut@mto.com

Rachel G. Miller-Ziegler (D.C. Bar No. 229956)
Jeremy S. Kreisberg (D.C. Bar No. 1048346)
Kyle A. Schneider (D.C. Bar No. 90024468)*
Esthena L. Barlow (D.C. Bar No. 90000252)
MUNGER, TOLLES & OLSON LLP
601 Massachusetts Avenue, NW, Suite 500E
Washington, D.C. 20001
(202) 220-1100
Rachel.Miller-Ziegler@mto.com
Jeremy.Kreisberg@mto.com
Kyle.Schneider@mto.com
Esthena.Barlow@mto.com

Juliana Yee**
Shannon C. Galvin Aminirad**
MUNGER, TOLLES & OLSON LLP
560 Mission Street, Twenty-Seventh Floor
San Francisco, California 94105
(415) 512-4000
Juliana.Yee@mto.com
Shannon.Aminirad@mto.com

* Admission pending
**Pro hac vice application forthcoming

Attorneys for Susman Godfrey LLP




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                                   CERTIFICATE OF SERVICE

          I hereby certify that on April 14, 2025, I filed the foregoing document with the Clerk of

Court for the United States District Court for the District of Columbia using the court’s CM/ECF

filing.

          I further certify that a copy of the foregoing will be deposited with the United States Postal

Service, for delivery to the below Defendants and to the Department of Justice by Certified Mail:

U.S. DEPARTMENT OF JUSTICE
950 Pennsylvania Avenue NW, Washington, DC 20530

OFFICE OF MANAGEMENT AND BUDGET
725 17th Street NW, Washington, DC 20503

SECURITIES AND EXCHANGE COMMISSION
100 F Street NE, Washington, DC 20549

UNITED STATES INTERNATIONAL TRADE COMMISSION
500 E Street SW, Washington, DC 20436

FEDERAL TRADE COMMISSION,
600 Pennsylvania Avenue NW, Washington, DC 20580

UNITED STATES PATENT AND TRADEMARK OFFICE
600 Dulany Street, Alexandria, VA 22314

EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
131 M Street NE, Washington, DC 20507

DEPARTMENT OF THE TREASURY
1500 Pennsylvania Avenue NW, Washington, DC 20220

THE UNITED STATES OF AMERICA
U.S. Attorney’s Office for the District of Columbia
601 D Street NW, Washington, DC 20530

U.S. DEPARTMENT OF DEFENSE
1000 Defense Pentagon, Washington, DC 20301

U.S. DEPARTMENT OF HEALTH AND HUMAN SERVICES
200 Independence Avenue SW, Washington, DC 20201

U.S. DEPARTMENT OF EDUCATION


                                                    2
400 Maryland Avenue SW, Washington, DC 20202

U.S. DEPARTMENT OF VETERANS AFFAIRS
810 Vermont Avenue NW, Washington, DC 20420

OFFICE OF THE DIRECTOR OF NATIONAL INTELLIGENCE
Office of General Counsel, Washington, DC 20511

CENTRAL INTELLIGENCE AGENCY
Litigation Division, Office of General Counsel, Washington, DC 20505

ENVIRONMENTAL PROTECTION AGENCY
1200 Pennsylvania Avenue NW, Washington, DC 20460

DEPARTMENT OF HOMELAND SECURITY
2707 Martin Luther King Jr Avenue SW, Mail Stop 0485, Washington, DC 20528

DEPARTMENT OF STATE
Suite 5.600, 600 19th Street NW, Washington, DC 20522

DEPARTMENT OF ENERGY
1000 Independence Avenue SW, Washington, DC 20585

DEPARTMENT OF LABOR
200 Constitution Avenue NW, Washington, DC 20210

DEPARTMENT OF AGRICULTURE
1400 Independence Avenue SW, Washington, DC 20250

DEPARTMENT OF COMMERCE
1401 Constitution Avenue NW, Washington, DC 20230

DEPARTMENT OF HOUSING AND URBAN DEVELOPMENT
451 Seventh Street NW, Washington, DC 20410

SMALL BUSINESS ADMINISTRATION
409 Third Street SW, Washington, DC 20416

OFFICE OF THE UNITED STATES TRADE REPRESENTATIVE
600 17th Street NW, Washington, DC 20508

DEPARTMENT OF THE INTERIOR
1849 C Street NW, Washington, DC 20240

DEPARTMENT OF TRANSPORTATION
1200 New Jersey Avenue SE, Washington, DC 20590



                                             3
PAMELA J. BONDI, in her official capacity as Attorney General of the United States
950 Pennsylvania Avenue NW, Washington, DC 20530

RUSSELL T. VOUGHT, in his official capacity as Director of The U.S. Office of Management
and Budget
725 17th Street NW, Washington, DC 20503

MARK T. UYEDA, in his official capacity as Acting Chairman of the Securities and Exchange
Commission
100 F Street NE, Washington, DC 20549

AMY A. KARPEL, in her official capacity as Chair of the U.S. International Trade Commission
500 E Street SW, Washington, DC 20436

ANDREW N. FERGUSON, in his official capacity as Chairman of the Federal Trade Commission
600 Pennsylvania Avenue NW, Washington, DC 20580

COKE MORGAN STEWART, in her official capacity as Acting Under Secretary of Commerce
for Intellectual Property and Acting Director of the United States Patent and Trademark Office
600 Dulany Street, Alexandria, VA 22314

ANDREA R. LUCAS, in her official capacity as Acting Chair of the Equal Employment
Opportunity Commission
131 M Street NE, Washington, DC 20507

SCOTT BESSENT, in his official capacity as Secretary of the Treasury
1500 Pennsylvania Avenue NW, Washington, DC 20220

PETER B. HEGSETH, in his official capacity as the Secretary of Defense
U.S. Department of Defense
1000 Defense Pentagon, Washington, DC 20301

ROBERT F. KENNEDY, JR., in his official capacity as Secretary of Health and Human Services
U.S. Department of Health and Human Services
200 Independence Avenue SW, Washington, DC 20201

LINDA M. MCMAHON, in her official capacity as Secretary of Education
U.S. Department of Education
400 Maryland Avenue SW, Washington, DC 20202

DOUGLAS A. COLLINS, in his official capacity as Secretary of Veterans Affairs
Department of Veterans Affairs
810 Vermont Avenue NW, Washington, DC 20420

TULSI GABBARD, in her official capacity as U.S. Director of National Intelligence



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Office of the Director of National Intelligence, Office of General Counsel, Washington, DC 20511

JOHN L. RATCLIFFE, in his official capacity as Director of the Central Intelligence Agency
Litigation Division, Office of General Counsel, Central Intelligence Agency, Washington, DC
20505

LEE M. ZELDIN, in his official capacity as Administrator of the Environmental Protection
Agency
1200 Pennsylvania Avenue NW, Washington, DC 20460

KRISTI NOEM, in her official capacity as Secretary of Homeland Security
2707 Martin Luther King Jr Avenue SW, Mail Stop 0485, Washington, DC 20528

MARCO RUBIO, in his official capacity as Secretary of State
Suite 5.600, 600 19th Street NW, Washington DC 20522

CHRIS WRIGHT, in his official capacity as Secretary of Energy
1000 Independence Avenue SW, Washington, DC 20585

LORI CHAVEZ-DEREMER, in her official capacity as Secretary of Labor
200 Constitution Avenue NW, Washington, DC 20210

BROOKE L. ROLLINS, in her official capacity as Secretary of Agriculture
1400 Independence Avenue SW, Washington, DC 20250

HOWARD LUTNICK, in his official capacity as Secretary of Commerce
1401 Constitution Avenue NW, Washington, DC 20230

SCOTT TURNER, in his official capacity as Secretary of Housing and Urban Development
451 Seventh Street SW, Washington, DC 20410

KELLY LOEFFLER, in her official capacity as Administrator of the U.S. Small
Business Administration
409 Third Street SW, Washington, DC 20416

JAMIESON GREER, in his official capacity as United States Trade Representative
600 17th Street NW, Washington, DC 20508

DOUG BURGUM, in his official capacity as Secretary of the Interior
1849 C Street NW, Washington, DC 20240

SEAN DUFFY, in his official capacity as Secretary of Transportation
1200 New Jersey Avenue SE, Washington, DC 20590




                                               5
/s/ Donald B. Verrilli, Jr.
Donald B. Verrilli, Jr. (D.C. Bar. No. 420434)
MUNGER, TOLLES & OLSON LLP
601 Massachusetts Avenue, NW, Suite 500E
Washington, D.C. 20001
(202) 220-1100
Donald.Verrilli@mto.com




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